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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   6     TRISHA ICKES,                                     Case No. 23-cv-00803-SI
                                   7                    Plaintiff,                         ORDER GRANTING DEFENDANT’S
                                                                                           MOTION TO TRANSFER AND
                                   8             v.                                        TRANSFERRING THIS CASE TO THE
                                                                                           SOUTHERN DISTRICT OF NEW
                                   9     AMC NETWORKS INC.,                                YORK
                                  10                    Defendant.                         Re: Dkt. No. 11

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                                  12          On June 23, 2023, the Court held a hearing on defendant AMC Network, Inc.’s motion to
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                                  13   dismiss or transfer this case to the Southern District of New York pursuant to the first-to-file rule

                                  14   and/or 28 U.S.C. § 1404(a). For the reasons set forth in this order, the Court GRANTS defendant’s

                                  15   motion to transfer.

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                                  17                                            BACKGROUND
                                  18          AMC Networks Inc. (“AMC+”) is a Delaware corporation with its principal executive office
                                  19   located in New York, New York. Compl. ¶ 19 (Dkt. No. 1). AMC+ “is a media production and
                                  20   distribution company that sells its content on multiple platforms.” Id. ¶ 2. Its business includes
                                  21   “streaming video services, whereby AMC+, through its website, the AMC+ application, and on-
                                  22   demand channels such as Apple TV+ and Amazon Prime, makes prerecorded audiovisual materials
                                  23   (i.e., videos) available for consumers to request and obtain.” Id. ¶ 3. In order to access videos, a
                                  24   consumer must create an account with AMC+, which requires submitting personal information such
                                  25   as a name, email address, billing address, and payment information. Id. ¶ 52. If a consumer accesses
                                  26   AMC+ content through a third-party channel, such as Apple TV+, the consumer must agree to have
                                  27   their personal information shared between AMC+ and the third party. Id.
                                  28
                                   1          AMC+ discloses information about its subscribers to third party Meta Platforms, Inc.,
                                   2   formerly known as Facebook. AMC+ discloses information via a programming code called the
                                   3   Meta Pixel, which was created by Meta and installed by AMC+ on the AMC+ website. The Meta
                                   4   Pixel “allows online businesses like AMC+ to build detailed profiles about its users by collecting
                                   5   information about how they interact with their websites and facilitates the service of targeted
                                   6   advertising to them.” Id. ¶ 34. The information AMC+ shares with Meta includes a consumer’s
                                   7   Facebook ID (“FID”), which is a “unique sequence of numbers linked to that individual’s Facebook
                                   8   profile,” and thus “identifies a consumer more precisely than a name,” as well as information about
                                   9   the titles of the videos the consumer requested or obtained on the AMC+ website. Id. ¶¶ 4-5. The
                                  10   AMC+ website does not inform consumers of AMC+’s use of the Meta Pixel or its practice of
                                  11   sharing consumers’ personal information and video content choices with Meta. Id. ¶¶ 59-64. In
                                  12   addition to disclosing consumers’ information with Meta, AMC+ retains records of consumers’
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                                  13   information far beyond the time period necessary for the purposes for which the information was
                                  14   collected. Id. ¶ 16.
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                                  16   I.     Ickes et al. v. AMC Networks Inc., 3:23-cv-00803-SI (N.D. Cal.)
                                  17          On February 22, 2023, Trisha Ickes, a resident of Richmond, California, filed this lawsuit
                                  18   against AMC+ alleging claims under the federal Video Privacy Protection Act, 18 U.S.C. § 2710
                                  19   (“VPPA”), and California law.
                                  20          Ickes is an AMC+ consumer and first subscribed to AMC+ in 2021. Id. ¶ 76.1 Ickes also
                                  21   uses Facebook and has had a Facebook account since 2009. Id. ¶ 79. Ickes alleges that AMC+
                                  22   unlawfully disclosed her “personally identifiable information” (“PII”) to Meta after she signed up
                                  23   for an AMC+ subscription and used the AMC+ website. Ickes also alleges that AMC+ unlawfully
                                  24   retained her PII beyond the time period necessary for the purposes for which the PII was collected.
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                                                AMC+ states in its reply that “[a]s communicated to counsel, AMC+ has diligently
                                  28   searched its records for Plaintiff’s name and email and has no evidence of Plaintiff ever subscribing
                                       to AMC+ -- a fact that to date, remain[s] unrebutted.” Reply at 6.
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                                   1   Ickes seeks to represent a nationwide class for the VPPA cause of action and a California class for
                                   2   the California claims.
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                                   4   II.     McCoy et al. v. AMC Networks, Inc., 1:23-cv-00441 (S.D.N.Y.)
                                   5           On January 18, 2023, approximately one month before Ickes was filed, Gerald McCoy,
                                   6   Nicholas Nuñez, and Andy Germuga filed a putative class action lawsuit against AMC+ in the
                                   7   Southern District of New York. The McCoy complaint arose out of the same facts as those later
                                   8   alleged in Ickes, namely that AMC+ unlawfully disclosed personal information about AMC+
                                   9   subscribers to Meta via the Meta Pixel, and that AMC+ unlawfully retained that information. Def’s
                                  10   Request for Judicial Notice, Ex. 1 (Dkt. No. 12-1).2       McCoy asserted claims under the VPPA and
                                  11   Minnesota and New York law, and the VPPA claim was brought on behalf of a nationwide class
                                  12   and the Minnesota and New York claims were brought on behalf of the Minnesota and New York
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                                  13   subclasses. Id. On March 24, 2023, the McCoy plaintiffs voluntarily dismissed the complaint
                                  14   without prejudice. Id., Ex. 2 (Dkt. No. 12-2).
                                  15

                                  16   III.    Vela et al. v. AMC Networks, Inc., 1:23-cv-02524 (S.D.N.Y.)
                                  17           Also on March 24, 2023, the same lawyers who filed McCoy filed a new lawsuit against
                                  18   AMC+ on behalf of two of the McCoy named plaintiffs (Nicholas Nuñez and Andy Germuga) and
                                  19   a new third named plaintiff, Ronald Vela. Id., Ex. 3 (Dkt. No. 12-3). The Vela complaint is virtually
                                  20   identical to the McCoy complaint, and the Vela plaintiffs filed a “Related Case Statement” stating
                                  21   that “[t]hese allegations are substantially identical in both filings, but for the substitution of Plaintiff
                                  22   Vela for Plaintiff McCoy.” Id., Ex. 2. Vela was reassigned to the judge who had presided over
                                  23   McCoy, Judge Andrew Carter. In Vela, AMC+ has filed a motion to compel arbitration that has
                                  24   been fully briefed.3
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                                                 The Court GRANTS defendant’s unopposed request for judicial notice of the McCoy and
                                  27   Vela filings.
                                               3
                                  28            AMC+ contends that neither Vela nor this case belong in court because AMC+_subscribers
                                       agreed to a class action waiver and mandatory arbitration clause.
                                                                                       3
                                   1                                                DISCUSSION

                                   2            AMC+ moves to transfer this action pursuant to both the “first-to-file” rule and 28 U.S.C.
                                   3   § 1404(a). AMC+ argues that dismissal or transfer is in the interest of judicial efficiency and would
                                   4   avoid the risk of conflicting judgments because this case and Vela raise the same facts and claims
                                   5   about AMC+’s use of the Meta Pixel on the AMC+ website and AMC+ is already litigating these
                                   6   issues in New York.
                                   7

                                   8   I.       First-to-File Rule
                                   9            Under the “first-to-file” rule, a district court has discretion to “transfer, stay, or dismiss an
                                  10   action when a similar complaint has already been filed in another federal court.” Alltrade, Inc. v.
                                  11   Uniweld Prods., Inc., 946 F.2d 622, 623 (9th Cir. 1991). The rule applies when “a complaint
                                  12   involving the same parties and issues has already been filed in another district.” Id. at 625. Courts
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                                  13   look to three factors when applying the first-to-file rule: “(1) the chronology of the two actions; (2)
                                  14   the similarity of the parties, and (3) the similarity of the issues.” Z–Line Designs, Inc. v. Bell’O Int'l,
                                  15   LLC, 218 F.R.D. 663, 665 (N.D. Cal. 2003). The parties and issues need not be identical for the
                                  16   first-to-file rule to apply. See Kohn Law Gp., Inc. v. Auto Parts Mfg. Mississippi, Inc., 787 F.3d
                                  17   1237, 1240 (9th Cir. 2015). Rather, the crucial inquiry is whether the parties and issues substantially
                                  18   overlap. Id. The rule was designed to promote judicial economy, and therefore “is not a rigid or
                                  19   inflexible rule to be mechanically applied, but rather is to be applied with a view to the dictates of
                                  20   sound judicial administration.” Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 95 (9th Cir.
                                  21   1982).
                                  22

                                  23            A.     First Case
                                  24            AMC+ argues that Vela should be considered the first-filed case because McCoy was filed
                                  25   first and Vela is a continuation of McCoy. AMC+ asserts that the dismissal of McCoy and filing of
                                  26   Vela on the same day should be treated as a functional amendment of the complaint because the
                                  27   only difference between McCoy and Vela was the substitution of one named plaintiff. AMC+ also
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                                   1   emphasizes that Vela was related to McCoy and assigned to the same judge who presided over
                                   2   McCoy.
                                   3           Ickes argues that McCoy is moot for the purposes of the first-to-file rule because it was
                                   4   voluntarily dismissed and thus that this case is the first-filed. Ickes relies on cases where courts
                                   5   have declined to transfer cases pursuant to the first-to-file rule because the earlier-filed case was no
                                   6   longer pending in another district. See Alul v. Am. Honda Motor Co., Inc., No. 16-cv-04384-JST,
                                   7   2016 WL 7116934, at *5 (N.D. Cal. Dec. 7, 2016) (holding first-to-file rule did not apply and
                                   8   declining to transfer case to Central District of California “where there is no active case in the
                                   9   Central District and where no substantive rulings were ever issued”).
                                  10           The Court finds that due to the unusual procedural history of McCoy and Vela, it makes
                                  11   sense to treat those cases as one action for purposes of the first-to-file rule. If there were no currently
                                  12   pending case in the Southern District of New York, the Court would agree with Ickes that McCoy
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                                  13   would be irrelevant to the first-to-file analysis. However, because Vela is pending before the same
                                  14   judge as McCoy, because McCoy and Vela are identical except for the substitution of one plaintiff,
                                  15   and because Vela was filed the same day that McCoy was dismissed, the Court agrees with AMC+
                                  16   that the cases should be considered together and that the filing date of McCoy is relevant.           The
                                  17   Court thus considers the Vela case to be the first-filed case for the purpose of the first-to-file rule.
                                  18
                                  19           B.      Similarity of Parties
                                  20           The Court also finds that the second factor – similarity of parties – is met. AMC+ is the
                                  21   same and only defendant in both cases. The plaintiffs in both cases are AMC+ subscribers who
                                  22   accessed video content from the AMC+ website and also had Facebook accounts. The nationwide
                                  23   putative VPPA class in this case completely overlaps with the nationwide class asserted in Vela.
                                  24   Compare Ickes Compl. ¶ 85 (“All persons in the United States who subscribed to AMC+, requested
                                  25   or obtained video content from the AMC+ website, and used Facebook during the time Meta’s Pixel
                                  26   was active on AMC+”), and Vela Compl. ¶ 82 “(All persons in the United States who subscribed to
                                  27   AMC+, requested or obtained video content from the AMC+ website, and used Facebook during
                                  28   the time Facebook’s Pixel was active on AMC+”).
                                                                                           5
                                   1           The Court is not persuaded that the existence of state law subclasses – a California class in
                                   2   Ickes and Minnesota and New York classes in Vela – precludes a finding of substantial similarity of
                                   3   parties. See Young v. L'Oreal USA, Inc., 526 F. Supp. 3d 700, 705 (N.D. Cal. 2021) (“The second
                                   4   factor merely demands that the parties be substantially similar and need not be identical.”). Ickes
                                   5   argues that Avery v. TEKsystems, Inc., No. 22-cv-02733-JSC, 2022 WL 3998499 (N.D. Cal. Aug.
                                   6   31, 2022), is “on point” and that the Court should conclude, as Judge Corley did in Avery, that there
                                   7   is ”minimal” overlap between the two cases because of the existence of different state law
                                   8   subclasses. However, Avery did not involve two cases with identical federal nationwide classes.
                                   9   Instead, the plaintiffs in Avery asserted purely California wage and hour claims, and Judge Corley
                                  10   was considering whether to transfer Avery to another district where a case (Thomas) was pending
                                  11   that asserted wage and hour claims under the federal Fair Labor Standards Act and Pennsylvania
                                  12   law. Judge Corley found that there was, at most, at 13% overlap in plaintiffs because some of the
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                                  13   Avery plaintiffs had opted into the Thomas FLSA class before the opt-in deadline had passed. See
                                  14   id. at *3 (“Here, because the period to join the Thomas action has closed, the proper comparators
                                  15   are the putative class in Avery and the opt-in collective of plaintiffs in Thomas as it stands today . . .
                                  16   the overlap in potential plaintiffs between the two actions is roughly 13% . . . 87% of the putative
                                  17   Avery class is not and will not be represented in the Thomas action. These putative plaintiffs
                                  18   represent an overwhelming majority of the Avery class and would not be precluded by any finding
                                  19   in the Thomas Action. Thus, pausing or transferring the Avery action would not promote
                                  20   efficiency.”).4 Here, in contrast, this case and Vela are both brought on behalf of the same putative
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                                                 For similar reasons, plaintiffs’ reliance on Wilkie v. Gentiva Health Services, No. 10-cv-
                                  24   01451-FCD-GGH, 2010 WL 3703060 (E.D. Cal. Sept. 16, 2010), is misplaced. In that case, Judge
                                       Damrell denied a motion to transfer a wage and hour case because he found that “[o]n balance, there
                                  25   are more dissimilarities in the issues than similarities.” Id. at *5. In addition to the existence of
                                       separate state law subclasses, it was not clear whether the proposed FLSA class in Wilkie included
                                  26   the same types of employees as the earlier-filed case. See id. at *3 (“As plaintiff argues, some
                                       employees included in the instant action may not ultimately be included in the Rindfleisch action.
                                  27   For example, it is unclear whether licensed vocational nurses, physicians assistants, and monitor
                                       technicians which likely fit under plaintiff’s class definition, also fit within the Rindfleisch class.
                                  28   As such, the court cannot find at this juncture that substantial similarity exists between the
                                       nationwide classes in the two actions.”).
                                                                                          6
                                   1   nationwide class where there is close to 100% overlap, and thus rulings in Vela would have a
                                   2   preclusive effect in this case, and vice versa.
                                   3

                                   4          C.      Similarity of Issues
                                   5          This case and Vela also raise the same core factual issues and the same or similar legal issues.
                                   6   Both cases involve AMC+’s use of the Meta Pixel and disclosure and retention of consumers’
                                   7   personal information. In both cases, AMC+ contends that the plaintiffs’ claims are subject to
                                   8   arbitration clauses. If a court determines that the claims are not subject to arbitration, the common
                                   9   legal questions will include whether a nationwide VPPA class should be certified and whether
                                  10   AMC+’s use of the Meta Pixel violated the VPPA. To have two courts resolve these questions not
                                  11   only presents the possibility of conflicting judgments, but also a waste of judicial resources.
                                  12          Ickes emphasizes that this case involves California claims and Vela involves New York and
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                                  13   Minnesota claims. However, the state law claims under California, New York, and Minnesota law
                                  14   contain similar elements to a VPPA claim (such as whether disclosure of information was made
                                  15   knowingly and without the consumers’ consent), and in the case of the Ickes’ plaintiffs’ claim under
                                  16   the Unfair Competition Law (“UCL”), a violation of the VPPA also constitutes a violation of the
                                  17   UCL. See e.g., Ickes Compl. ¶¶ 14-16 (alleging violations of VPPA and California law based on
                                  18   same facts and elements); Vela Compl. ¶¶ 10-12 (alleging violations of VPPA, New York and
                                  19   Minnesota law based on same facts and elements). The gravamen of the federal and state claims is
                                  20   the same: did AMC+ violate the law by disclosing consumers’ information to Meta, and by retaining
                                  21   consumers’ information longer than necessary?
                                  22          Ickes also argues that this case “includes significant issues to be determined related to the
                                  23   value of PII and economic damages that are absent from Vela.” Opp’n at 11 (Dkt. No. 18). Ickes
                                  24   notes that the Vela plaintiffs are seeking statutory damages, while the plaintiffs here allege that their
                                  25   PII “has value that AMC’s wrongful acquisition and use of the PII prevented them from realizing”
                                  26   and “AMC’s conduct resulted in economic harm” to consumers who either would not have
                                  27   subscribed to AMC+ or paid more for their AMC+ subscriptions than they otherwise would have if
                                  28   they had known about AMC+’s practices.            Id. (citing various paragraphs of the complaint).
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                                   1   However, the first-to-file rule does not require that all factual and legal issues be identical, just that
                                   2   there be “substantial overlap.” Kohn Law Gp., 787 F.3d at 1240. Differences in the types of
                                   3   damages sought do not detract from the fact that both cases involve the same facts and the same or
                                   4   similar legal issues.
                                   5           In light of the above, the Court concludes that transfer the case to the Southern District of
                                   6   New York based on the first-to-file rule will “maximize ‘economy, consistency, and comity.’” Id.
                                   7   This Court grants AMC+’s motion to transfer based on the first-to-file rule. As discussed below,
                                   8   the Court also finds that transfer is appropriate under 28 U.S.C. § 1404(a).
                                   9

                                  10   II.     28 U.S.C. § 1404(a)
                                  11           “For the convenience of parties and witnesses, in the interest of justice, a district court may
                                  12   transfer any civil matter to any other district or division where it might have been brought.” 28
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                                  13   U.S.C. § 1404(a). The purpose of § 1404(a) is to “prevent the waste of time, energy, and money
                                  14   and to protect litigants, witnesses and the public against unnecessary inconvenience and expense.”
                                  15   Van Dusen v. Barrack, 376 U.S. 612, 616 (1964) (internal citations and quotation omitted).
                                  16           To support a motion to transfer, the defendant must establish: (1) that venue is proper in the

                                  17   transferor district; (2) that the transferee district is one where the action might have been brought;

                                  18   and (3) that the transfer will serve the convenience of the parties and witnesses, and will promote

                                  19   the interests of justice. See Goodyear Tire & Rubber Co. v. McDonnell Douglas Corp., 820 F. Supp.

                                  20   503, 506 (C.D. Cal. 1992). The parties do not dispute that venue is proper in this district and that

                                  21   this case could have been brought in the Southern District of New York. The disagreement centers

                                  22   on whether transfer will serve the convenience of the parties and witnesses and promote justice.

                                  23           In the Ninth Circuit, district courts have “discretion to adjudicate motions for transfer

                                  24   according to an ‘individualized, case-by-case consideration of convenience and fairness.’” Jones v.

                                  25   GNC Franchising Inc., 211 F.3d 495, 498 (9th Cir. 2000) (quoting Stewart Org. v. Ricoh Corp., 487

                                  26   U.S. 22, 29 (1988)). “In this district, courts typically consider the following factors: (1) plaintiffs’

                                  27   choice of forum, (2) convenience of the parties, (3) convenience of the witnesses, (4) ease of access

                                  28   to the evidence, (5) familiarity of each forum with the applicable law, (6) feasibility of consolidation
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                                   1   with other claims, (7) any local interest in the controversy, and (8) the relative court congestion and

                                   2   time to trial in each forum.” California v. Bureau of Land Mgmt., No. 18-CV-00521-HSG, 2018

                                   3   WL 3439453, at *2 (N.D. Cal. July 17, 2018)

                                   4           The Court finds that on balance, these factors weigh in favor of transfer. As to plaintiff’s
                                   5   choice of forum, “[w]hen an individual brings a derivative suit or represents a class, the named
                                   6   plaintiff’s choice of forum is given less weight.” Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir.
                                   7   1987); see also Cardoza v. T-Mobile USA Inc., No. 3:08-cv-05120-SC, 2009 WL 723843, at *4
                                   8   (N.D. Cal. Mar. 18, 2009) (stating that “[c]ourts tend to do so [give plaintiff’s choice of forum less
                                   9   weight] where the plaintiff seeks to represent a nationwide class” and transferring California state
                                  10   law class action to the Western District of Washington pursuant to first-to-file rule and 28
                                  11   U.S.C. § 1404(a)). The Court gives some, but not much, deference to Ickes’ choice of forum.
                                  12           The Court finds that the second and third factors support transfer. This district is more
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                                  13   convenient for Ickes personally, although the Court notes that AMC+ states that it will depose Ickes
                                  14   in California if a deposition is needed. However, based on the nature of her claims – which focus
                                  15   on AMC+’s decision to install the Meta Pixel on its website and its policies and practices regarding
                                  16   disclosure and retention of consumer information – the Court anticipates that much of the witness
                                  17   testimony will come from AMC+, which is headquartered in New York. “Since the allegations in
                                  18   this case focus on defendant’s conduct, the convenience of witnesses favor transfer.” Id. at *5. The
                                  19   fourth factor – access to evidence – is neutral as the parties agree that most if not all of the evidence
                                  20   is electronically available.
                                  21           The fifth factor is largely neutral because both courts are familiar with federal law and the
                                  22   state law claims share key elements and arise out of the same facts. While this Court has familiarity
                                  23   with California law, the Vela case already includes Minnesota law claims, and “other federal courts
                                  24   are fully capable of applying California law.” Id.
                                  25           Most importantly, “[t]o permit a situation in which two cases involving precisely the same
                                  26   issues are simultaneously pending in different District Courts leads to the wastefulness of time,
                                  27   energy and money that § 1404(a) was designed to prevent.” Continental Grain Co. v. The FBL–
                                  28   585, 364 U.S. 19, 26 (1960). As discussed earlier, this case and Vela arise out of the identical facts
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                                   1   and assert the same federal claims and similar state law claims. AMC+ states that it will seek to
                                   2   relate and/or consolidate this case with Vela upon transfer.
                                   3          Finally, neither party discusses the local interest in the controversy or local court congestion
                                   4   and thus the Court does not consider these factors.
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                                   7                                             CONCLUSION

                                   8          For the foregoing reasons and for good cause shown, the Court GRANTS AMC+’s motion
                                   9   to transfer and TRANSFERS this case to the Southern District of New York.
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                                  11          IT IS SO ORDERED.

                                  12
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                                  13   Dated: June 30, 2023                          ______________________________________
                                                                                       SUSAN ILLSTON
                                  14                                                   United States District Judge
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